             Case 1:20-cv-01817-LJV Document 3 Filed 12/18/20 Page 1 of 7




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


 CHARLES N. JONES,

                 Plaintiff,

        v.                                               20-CV-1817-LJV
                                                         ORDER
 NEW YORK STATE,

                 Defendant.



       The pro se plaintiff, Charles N. Jones, is a prisoner confined at the Wende

Correctional Facility. He filed a complaint asserting claims under 42 U.S.C. § 1983,

Docket Item 1, but he did not pay the filing fee, nor did he submit a complete application

to proceed in forma pauperis (that is, as someone who should have the prepayment of

the ordinary filing fee waived because he cannot afford it). See Docket Item 2.

       The Clerk of Court therefore shall administratively terminate this action. If the

plaintiff wishes to reopen this case, he must notify the Court in writing within 30 days of

the date of this order and must include either (a) a properly-supported motion to

proceed in forma pauperis along with the required certification of the plaintiff's inmate

trust fund account (or institutional equivalent) and authorization form or (b) the $350.00

filing fee and the $50.00 administrative fee ($400.00 total).
            Case 1:20-cv-01817-LJV Document 3 Filed 12/18/20 Page 2 of 7




                                      DISCUSSION


       A party commencing a civil action in this Court ordinarily must pay a $350.00

filing fee as well as a $50.00 administrative fee. 1 See 28 U.S.C. § 1914; Judicial

Conference Schedule of Fees, District Court Miscellaneous Fee Schedule; 2 Western

District of New York, District Court Schedule of Fees. 3 If a "prisoner" (as defined in

28 U.S.C. § 1915(h)) wishes to commence a civil action, the prisoner must either (1)

pay those fees or (2) obtain permission to proceed in forma pauperis under 28 U.S.C.

§ 1915.


I.     REQUIREMENTS FOR IN FORMA PAUPERIS APPLICATION

       The Prison Litigation Reform Act of 1995, Pub. L. No. 104-134, 110 Stat. 1321

(April 26, 1996), which amended 28 U.S.C. § 1915, established certain requirements

that a prisoner must meet in order to proceed in forma pauperis. Those requirements

are summarized below.


       A.      Supporting Affidavit or Affirmation

       Under 28 U.S.C. § 1915(a)(1), a prisoner seeking to bring a civil action in forma

pauperis must submit an affidavit or affirmation detailing the prisoner's assets and


       1 Effective May 1, 2013, the Judicial Conference of the United States added an

administrative fee of $50.00 to the cost of filing a civil lawsuit in district court. See
September 2012 Report of the Proceedings of the Judicial Conference of the United
States, available at http://www.uscourts.gov/about-federal-courts/reports-proceedings-
judicial-conference-us. But this additional administrative fee does not apply to prisoners
who are granted permission to proceed in forma pauperis. See generally id.
       2 Available at http://www.uscourts.gov/services-forms/fees/district-court-

miscellaneous-fee-schedule.
       3 Available at http://www.nywd.uscourts.gov/fee-schedule.



                                             2
            Case 1:20-cv-01817-LJV Document 3 Filed 12/18/20 Page 3 of 7




liabilities and swearing under oath that the prisoner is unable to pay the $350.00 filing

fee. A motion to proceed in forma pauperis should be supported by such an affidavit or

affirmation filed at the same time as the complaint. The United States District Court for

the Western District of New York has made available a form motion to proceed in forma

pauperis with supporting affirmation 4 that is designed to help pro se litigants (such as

the plaintiff here) comply with 28 U.S.C. § 1915(a)(1).   The plaintiff submitted the

required affirmation.


       B.        Certification of Inmate Trust Fund Account

       Under 28 U.S.C. § 1915(a)(2), a prisoner seeking to proceed in forma pauperis

also must submit a certified copy of his or her inmate trust fund account statement (or

an institutional equivalent) for the six months immediately before the prisoner's

complaint was filed. The prisoner must obtain this certified account statement from the

appropriate official at each correctional facility where the prisoner was confined during

that six-month period. See 28 U.S.C. § 1915(a)(2). Alternatively, the prisoner may

have prison officials complete and sign the "Prison Certification Section" of the Court's

form motion referred to above. See supra note 4. In the "Prison Certification Section,"

prison officials provide the information in the prisoner's trust fund account statement

required by 28 U.S.C. § 1915(a)(2). The plaintiff did not submit the required

certification.




       4 The Clerk of Court shall mail Jones a form motion to proceed in forma pauperis

with supporting affirmation. The form also is available at
http://www.nywd.uscourts.gov/pro-se-forms.

                                             3
            Case 1:20-cv-01817-LJV Document 3 Filed 12/18/20 Page 4 of 7




       C.      Authorization Form

       A prisoner seeking to proceed in forma pauperis also must submit a signed

authorization form, 5 permitting the institution in which the prisoner is confined to pay—

over time, if necessary—the $350.00 filing fee from the prisoner's trust fund account (or

institutional equivalent). See 28 U.S.C. § 1915(b)(1)-(4). In other words, even if the

prisoner is granted in forma pauperis status, the prisoner still must pay the full $350.00

filing fee in installments. See 28 U.S.C. § 1915(b)(1)-(2). The initial payment will be

20% of the average monthly deposits to the prisoner's account or 20% of the average

monthly balance in the prisoner's account for the six-month period immediately

preceding the filing of the complaint, whichever is greater. See 28 U.S.C. § 1915(b)(1).

For each month after that, as long as the amount in the prisoner's account exceeds

$10.00, the agency having custody of the prisoner will deduct from the prisoner's

account and forward to the Clerk of Court an installment payment equal to 20% of the

preceding month's income that was credited to the prisoner's account. See 28 U.S.C.

§ 1915(b)(2). Those payments continue until the $350.00 fee is paid in full. Id.     The

plaintiff submitted the required authorization.


II.    ADMINISTRATIVE TERMINATION OF THIS ACTION

       The plaintiff did not pay the $350.00 filing fee or the $50.00 administrative fee

that ordinarily is required to commence a civil action. Although the plaintiff submitted a

motion to proceed in forma pauperis; an affidavit swearing that he is unable to pay the

$350.00 filing fee, see 28 U.S.C. § 1915(a)(1); and an authorization form, see 28 U.S.C.


       5 The Clerk of Court shall mail Jones an authorization form.   The form also is
available at http://www.nywd.uscourts.gov/pro-se-forms.

                                             4
          Case 1:20-cv-01817-LJV Document 3 Filed 12/18/20 Page 5 of 7




§ 1915(b), he did not submit a certification of his inmate trust fund account, see

28 U.S.C. § 1915(a)(1)-(2). Therefore, the Clerk of Court shall administratively

terminate this action 6 without filing the complaint or assessing a filing fee, as ordered

below. As also ordered below, the plaintiff is granted leave to reopen this action no later

than thirty days from the date of this order.


III.   DEFERMENT OF SCREENING UNDER 28 UNITED STATES CODE
       SECTIONS 1915(E)(2) & 1915A

       The court is required to screen civil actions filed by prisoners and dismiss them if

they: (1) are frivolous or malicious; (2) fail to state a claim upon which relief may be

granted; or (3) seek monetary relief against a defendant who is immune from such

relief. See 28 U.S.C. § 1915(e)(2); 28 U.S.C. § 1915A; see also 42 U.S.C. § 1997e(c)

(dismissal of prisoner actions brought with respect to prison conditions). Because the

plaintiff did not properly commence this action, this Court will defer the mandatory

screening process until this case is reopened—if, in fact, it is reopened. If this action is

reopened and then dismissed, installment payments of the filing fee under 28 U.S.C.

§ 1915 will not be suspended, and the prisoner will not be permitted to obtain a refund

of the filing fee or any part of it that already has been paid.

       Additionally, if a prisoner has, on three or more prior occasions while

incarcerated, brought in federal court an action or appeal that was dismissed because it



       6 Such an administrative termination is not a "dismissal" for purposes of the

statute of limitations. Therefore, if the case is reopened under the terms of this order, it
is not subject to the statute of limitations time bar as long as it originally was timely filed.
See Houston v. Lack, 487 U.S. 266 (1988) (prisoner mailbox rule); McDowell v. Del.
State Police, 88 F.3d 188, 191 (3d Cir. 1996); see also Williams-Guice v. Bd. of Educ.,
45 F.3d 161, 163 (7th Cir. 1995).

                                                5
          Case 1:20-cv-01817-LJV Document 3 Filed 12/18/20 Page 6 of 7




was frivolous or malicious or because it failed to state a claim upon which relief may be

granted, he or she will not be permitted to bring another action in forma pauperis unless

he or she is "under imminent danger of serious physical injury." See 28 U.S.C.

§ 1915(g).


                                           ORDER


       Based on the above, it is hereby

       ORDERED that the Clerk of Court shall administratively terminate this action

without filing the complaint or assessing a filing fee; and it is further

       ORDERED that the Clerk of Court shall send to the plaintiff a form motion to

proceed in forma pauperis with supporting affirmation; and it is further

       ORDERED that if the plaintiff wishes to reopen this action, he shall so notify this

Court, in writing, no later than 30 days from the date of this order. This writing must

include either (a) a properly supported motion to proceed in forma pauperis along with

the required certification of the plaintiff's inmate trust fund account (or the institutional

equivalent) and authorization form or (b) the $350.00 filing fee and the $50.00

administrative fee ($400.00 total); and it is further




                                               6
           Case 1:20-cv-01817-LJV Document 3 Filed 12/18/20 Page 7 of 7




         ORDERED that upon the plaintiff's submission of either (a) a complete motion to

proceed in forma pauperis along with the required certification and authorization form,

or (b) the $350.00 filing fee and the $50.00 administrative fee ($400.00 total), the Clerk

of Court shall reopen this case.



         SO ORDERED.

Dated:         December 18, 2020
               Buffalo, New York


                                             LAWRENCE J. VILARDO
                                             UNITED STATES DISTRICT JUDGE




                                             7
